                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

 PATRICK ROMANO, et al.,                       )
                                               )
                 Plaintiffs,                   )
                                               )
         v.                                    )        Case No. 2:23-04043-CV-BCW
                                               )
 TORCH ELECTRONICS, LLC, et al.,               )
                                               )
                Defendants.                    )



              NOTICE TO TAKE DEPOSITION OF KRYSTAL CHRISTENSEN



To:                                All Counsel of Record.

Date & Hour:                       The deposition will begin at 3:00 pm on June 7, 2023 and
                                   will continue until the deposition is complete.

Place:                             The deposition will occur via Zoom. Information regarding
                                   the Zoom link will be provided separately. If any party
                                   wishes to participate live, please contact Plaintiffs’ counsel
                                   to check availability and location.

Method of Recording:               Stenographic and videographic means before a certified
                                   court reporter. The court reporter will be as follows:

                                   Pohlman USA
                                   Two Pershing Square
                                   2300 Main Street, Suite 900
                                   Kansas City, MO 84108


        PLEASE TAKE NOTICE that Defendants Torch Electronics, LLC, et al. will take the class
certification deposition of Plaintiff Krystal Christensen pursuant to Federal Rules of Civil
Procedure 30 and 45 as described above.

                                                   Respectfully submitted,

                                                   GRAVES GARRETT LLC

                                                   s/ J. Aaron Craig



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                                                      Attorneys for Defendants Torch Electronics,
                                                      LLC, Steven Miltenberger, and Warrenton
                                                      Oil Company


                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2023, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send a notice of electronic filing to all counsel of
record.


                                                  Respectfully submitted,

                                                  s/ J. Aaron Craig

                                                  Attorney for Defendants Torch
                                                  Electronics, LLC, Steven Miltenberger,
                                                  and Warrenton Oil Company




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